                  Case 01-01139-AMC            Doc 27769-1        Filed 10/17/11          Page 1 of 4



                              IN THE UNITED STATES BANKRUPTCY COURT
                                           5                                         01


In re:                                                       ) Chapter 11
                                                             )


W. R. GRACE & CO., et al.’                                   ) Case No. 01-01139 (JKF)
                                                             ) (Jointly Administered)
                               Debtors.                      )
                                                                 Hearing Date: November 28, 2011, at 9:00 a.m.
                                                             )
                                                                 Objection Deadline: November 4, 2011 at 4:00 p.m.


  NOTICE OF DEBTORS’ MOTION FOR ENTRY OF AN ORDER: (I) APPROVING
  AGREEMENT; (II) AUTHORIZING, BUT NOT DIRECTING, THE DEBTORS TO
MERGE CERTAIN NON-OPERATING DEBTOR SUBSIDIARIES INTO W. R GRACE
 & CO.-CONN.; (III) EXPUNGING CERTAIN ACTIVE CLAIMS, CONDITIONALLY
EXPUNGED CLAIMS AND INTERCOMPANY CLAIMS; AND (IV) TRANSFERRING
CERTAIN ACTIVE AND INTERCOMPANY CLAIMS TO W. R. GRACE & CO.-CONN.

TO: Parties required to receive notice pursuant to Del. Bankr. LR 2001-1.

                        On October 17, 2011, the above-captioned debtors and debtors-in-possession

(collectively, the "Debtors") filed the attached             Debtors’ Motion for Entry of an Order: (I)

Approving Agreement; (II) Authorizing, But Not Directing, the Debtors to Merge Certain Non-



      The Debtors consist of the following 62 entities: W. R. Grace & Co. (f7k/a Grace Specialty Chemicals, Inc.), W.
      R. Grace & Co.-Conn., A-i Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
      Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
      Creative Food N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
      (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a
      Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
      Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
      Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
      Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
      Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
      (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
      Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
      R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
      Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
      Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
      Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
      Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA
      Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (flk/a Environmental
      Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
      Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
      Staffing), Hayden-Gulch West Coal Company, and H-G Coal Company.




DOCS_DE: 174227.1 91100-001
                 Case 01-01139-AMC            Doc 27769-1      Filed 10/17/11     Page 2 of 4



Operating Debtor Subsidiaries Into W. R. Grace & Co.Conn.; (III) Expunging Certain Active

Claims, Conditionally Expunged Claims and Intercompany Claims; and (IV) Transferring

Certain Active and Intercompany Claims to W. R. Grace & Co.-Conn.                  (the "Motion") with the

United States Bankruptcy Court for the District of Delaware, 824 Market Street, Wilmington,

Delaware 19801 (the "Bankruptcy Court"). A true and correct copy of the Motion is attached

hereto.

                        Responses to the relief requested in the Motion, if any, must be in writing and be

filed with the Bankruptcy Court no later than 4:00 p.m.(prevailing Eastern time) on November

4, 2011. At the same time, you must also serve a copy of the objections or responses, if any,

upon the following: (i) co-counsel for the Debtors, Adam Paul, Kirkland & Ellis LLP, 300 N.

LaSalle, Chicago, IL 60654 (fax 312-862-2200), Janet S. Baer, Baer Higgins Fruchtman LLC,

111 East Wacker Drive, Suite 2800, Chicago, IL 60601 (fax                312-577-0737), and Laura Davis

Jones and Curtis A. Helm, Pachuiski Stang Ziehi & Jones LLP, 919 North Market Street, 17th

Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801) (fax 302-652-4400); (ii)

counsel to the Official Committee of Unsecured Creditors, Lewis Kruger, Stroock & Stroock &

Lavan, 180 Maiden Lane, New York, NY 10038-4982 (fax 212-806-6006), and Michael R

Lastowski, Duane, Morris & Heckscher, LLP, 1100 N. Market Street, Suite 1200, Wilmington,

DE 19801-1246 (fax 302-657-4901); (iii) counsel to the Official Committee of Asbestos

Property Damage Claimants, Scott L. Baena, Bilzin, Sumberg, Baena, Price & Axelrod, 1450

Brickell Avenue, Suite 2300, Miami, FL 33131 (fax 305-374-7593), and Michael B. Joseph,

Ferry & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351, Wilmington, DE 19899 (fax

302-575-1714); (iv) counsel to the Official Committee of Asbestos Personal Injury Claimants,

Elihu Inselbuch, Caplin & Drysdale, Chartered, 375 Park Avenue, 35th Floor, New York, NY



                                                         2
DOCSDE: 174227.1 91100-001
                Case 01-01139-AMC     Doc 27769-1    Filed 10/17/11    Page 3 of 4



10152-3500 (fax 212-644-6755), and Maria Eskin, Campbell & Levine, LLC, 800 N. King

Street, Suite 300, Wilmington, DE 19801 (fax 302-426-9947); (v) counsel to the Official

Committee of Equity Holders, Thomas M. Mayer, Kramer Levin Naftalis & Frankel LLP, 919

Third Avenue, New York, NY 10022 (fax 212-715-8000), and Teresa K.D. Currier, Saul Ewing

LLP, 222 Delaware Avenue P.O. Box 1266, Wilmington, DE 19899-1397 (fax 302-421-6813);

(vi) counsel to the Asbestos PI Future Claimants’ Representative, Richard H. Wyron, Orrick,

Herrington & Sutcliffe LLP, 1152 15th Street, NW, Washington, DC 20005 (fax 202-339-8500),

and John C. Phillips, Jr., Phillips, Goldman & Spence, P.A., 1200 North Broom Street,

Wilmington, DE 19806 (fax 302-655-4210); (vii) the Office of the United States Trustee, Attn:

David Klauder, 844 N. King Street, Wilmington, DE 19801 (fax 302-573-6497); (viii) counsel to

the Asbestos PD Future Claimants’ Representative, Karl Hill, Seitz, Van Ogtrop & Green, P.A.,

222 Delaware Avenue, Suite 1500, P.O. Box 68, Wilmington, DE 19899 (fax 302-888-0606),

and Alan B. Rich, Law Office of Alan B. Rich, Esq., 1201 Elm Street, Suite 4244, Dallas, TX

75270 (fax 214-749-0325); and (ix) counsel to the CNA Companies, Michael S. Giannotto,

Goodwin Procter LLP, 901 New York Avenue, NW, Washington, DC 20001 (fax 202-346-

4444).

                       IF NO OBJECTIONS ARE TIMELY FILED AND SERVED IN

ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE

RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                       IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND

SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION WILL

BE HELD BEFORE THE HONORABLE JUDITH K. FITZGERALD AT THE UNITED




                                               3
DOCSDE:174227.1 91100-001
                 Case 01-01139-AMC    Doc 27769-1        Filed 10/17/11   Page 4 of 4



STATES BANKRUPTCY COURT, 824 MARKET STREET, WILMINGTON, DELAWARE

19801, ON NOVEMBER 28, 2011, AT 9:00 A.M. PREVAILING EASTERN TIME.



Dated: October               , 2011                KIRKLAND & ELLIS LLP
                                                   Adam Paul
                                                   John Donley
                                                   300 North LaSalle Street
                                                   Chicago, IL 60654
                                                   Telephone: (312) 862-2000
                                                   Facsimile: (312) 862-2200

                                                   and

                                                   BAER HIGGINS FRUCHTMAN LLC
                                                   Janet S. Baer, P.C.
                                                   Roger J. Higgins
                                                   111 East Wacker Drive
                                                   Suite 2800
                                                   Chicago, IL 60601
                                                   Telephone: (312) 836-4047

                                                   and

                                                   PACI{1JLKI STANG ZIEHL & JONES LLP


                                                   Lra Davis tones (Bar No. 436)
                                                   Jarhes E. O’Neill (Bar No. 40 2)
                                                   Kathleen P. Makows       ar N .3648)
                                                   Timothy P. Cairns ar No. 42 8)
                                                   919 North Market S et, 17 Floor
                                                   P.O. Box 8705
                                                   Wilmington, DE 19899-8705
                                                   Telephone: (302) 652-4100
                                                   Facsimile: (302) 652-4400

                                                   Co-Counsel for the Debtors and Debtors-in-
                                                   Possession




                                              rd
DOCSDE: 174227.1 91100-001
